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 9

10                                UNITED STATES DISTRICT COURT

11                                       DISTRICT OF NEVADA

12   DONALD WALDEN, JR., et al., etc.,                   CASE NO: 3:14-cv-00320-MMD-WGC

13                         Plaintiffs,                   EXHIBITS TO DEFENDANT STATE OF
                                                         NEVADA EX REL. DEPARTMENT OF
14                v.                                     CORRECTIONS’ MOTION TO EXCLUDE
                                                         ALL EVIDENCE FROM PLAINTIFFS’
15   THE STATE OF NEVADA, EX REL. NEVADA                 EXPERTS, THE EMPLOYMENT
     DEPARTMENT OF CORRECTIONS, and                      RESEARCH CORPORATION,
16   DOES 1-50,                                          MALCOLM COHEN, AND LAURA
                                                         STEINER
17                         Defendants.

18           Defendant The State of Nevada, ex rel. Nevada Department of Corrections (“NDOC”), by

19   and through its counsel, hereby submits the exhibits to its motion to exclude the testimony of

20   Plaintiffs’ experts, the Employment Research Corporation (“ERC”) and its principals Malcolm

21   Cohen, Ph.D. and Laura Steiner.

22           DATED this 9th day of April, 2020.

23                                                        WILSON ELSER MOSKOWITZ
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24
                                                  By BY: /s/ James Tucker
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28                                                        ex rel. its Department of Corrections

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 1                                 CERTIFICATE OF SERVICE
 2           Pursuant to FRCP 5(b), I certify that I am an employee of WILSON, ELSER,
 3   MOSKOWITZ, EDELMAN & DICKER LLP and that on the 9th day of April, 2020, I electronically
 4   filed and served a true and correct copy of the foregoing EXHIBITS TO DEFENDANT STATE
 5   OF NEVADA EX REL. DEPARTMENT OF CORRECTIONS’ MOTION TO EXCLUDE
 6   ALL EVIDENCE FROM PLAINTIFFS’ EXPERTS, THE EMPLOYMENT RESEARCH
 7   CORPORATION, MALCOLM COHEN, AND LAURA STEINER to all parties on file with the
 8   CM/ECF:
 9
      Mark R. Thierman, Esq.                      Christian Gabroy, Esq.
10    Joshua D. Buck, Esq.                        Kaine Messer, Esq.
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16                               By:   /s/ Lani Maile
                                       An Employee of WILSON, ELSER, MOSKOWITZ,
17                                     EDELMAN & DICKER LLP

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